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         In the United States Court of Federal Claims
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  MARILYN A. PHIPPS,                  *
                  Plaintiff,          *
                                      *
           v.                           No. 14-4246L
                                      *
                                        Filed: December 9, 2015
                                      *
  UNITED STATES,                      *
                  Defendant.          *
                                      *
   * * * * * * * * * * * * * * * * ** *
                                  ORDER

        The court is in receipt of plaintiffs’ motion to voluntarily dismiss certain plaintiffs’
claims in the case of Richard K. & Marilyn A. Phipps, et al. v. United States, Case No. 14-
424L, including the above-captioned plaintiff. The claims associated with the above-
captioned plaintiff are, hereby, SEVERED from the case of Richard K. & Marilyn A.
Phipps, et al. v. United States, Case No. 14-424L, and shall be reorganized, for case
management purposes, into the above-captioned case, Marilyn A. Phipps v. United
States, and assigned Case No. 14-4246L. The court DISMISSES WITHOUT
PREJUDICE the property claims of Marilyn A. Phipps. As there is no just reason for
delay, the Clerk’s Office shall enter immediate JUDGMENT consistent with this Order,
pursuant to RCFC 54(b). As the Order disposes of all properties of the named plaintiff,
Case No. 14-4246L shall be CLOSED. Neither the dismissal of the claims of the plaintiff
herein nor the entry of judgment by the Clerk’s Office shall affect this court’s jurisdiction
over the remaining plaintiffs and properties in the case of Richard K. & Marilyn A. Phipps,
et al. v. United States, Case No. 14-424L. Given that, prior to her dismissal, Marilyn A.
Phipps was a lead plaintiff for Case No. 14-424L, the court further directed that the new
caption for Case No. 14-424L shall be Richard K. Phipps, et al. v. United States.


       IT IS SO ORDERED.
                                                        s/Marian Blank Horn
                                                        MARIAN BLANK HORN
                                                                 Judge
